    Case 18-70843-BHL-7A                     Doc 42       Filed 11/14/18          EOD 11/14/18 16:42:12                Pg 1 of 1


                                         UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF Southern Indiana

                                                       Minute Entry/Order
Hearing Information:
                        Debtor:   STEVEN M & JENNIFER JOYCE BLACK
                  Case Number:    18-70843-BHL-7A            Chapter: 7

          Date / Time / Room:     WEDNESDAY, NOVEMBER 14, 2018 01:30 PM EV 359

         Bankruptcy Judge:        BASIL H. LORCH
              Courtroom Clerk:
                Reporter / ECR:   N/A                                                                                             0.00


Matter:
              Reset Hearing on Motion to Abandon and Relief from Stay filed by Nationstar Mortgage LLC with Objection filed by
              Trustee. [12], [17]
              R / M #: 0 / 0
              VACATED: Agreed Entry filed and approved


Appearances:

        NONE


Proceedings:                                                                                                               1.00

        VACATED: Agreed Entry filed and approved



IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




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